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                         UNITED STATES DISTRICT COURT
               FIRST CIRCUIT DISTRICT COURT OF MASSACHUSETTS




LISA SIEGEL BELANGER,


                    Plaintiff
               v.


NORFOLK PROBATE & FAMILY
COURT,
                    Defendant


                COMPLAINT FOR EMERGENCY DECLARATORY RELIEF

  I.        Nature of the action


       1.      The above-captioned action stems from unlawful

retaliation by “court-appointees”1 in the Norfolk Probate &

Family Court matters of John Savanovich (case numbers: 18P1286,

18P1287); retaliation against Plaintiff Attorney Lisa Siegel

Belanger for publicly exposing—in and out of court—their

criminal exploitation of John Savanovich.




       1In particular, Attorney Lisa M. Cukier, partner in Burns
Levinson LLP and Patricia Keane Martin of Seegal Lipshultz & LO
LLP.
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     2.      In particular, whistleblower retaliation against

Plaintiff by Attorney Lisa Cukier of Burns Levinson LLP and

numerous other joint venturers pertains to Plaintiff’s lawful

appearance in the Netflix aired documentary: Guardian Inc. (an

Alex Gibney production of Dirty Money, Season 2, Episode 5).

(Video of Guardian Inc. is provided as Exhibit 1 and a

transcript of said documentary—as Exhibit 2—that was filed by

Nicholas Luisa in Middlesex Superior Civil Action No.

2081CV1945, Luisa v. Netflix et al).2



     3.      Said Guardian Inc. documentary consists of both John

Savanovich and Plaintiff speaking truth about John being forced

into a fraudulent guardianship and conservatorship (Norfolk Nos:

18P1286 & 18P1287).       The situation involved a premeditated

scheme by specified attorneys and their cohorts. (Refer to

Exhibits 1 & 2).3




     2    Netflix provided a video copy of the documentary via
thumb-drives to Middlesex Superior Court and parties;
specifically referred to as “Ex.A” in Netflix’s filed
“Memorandum of Law in Opposition to Interested Nonparty John
Savanovich’s Motion to Impound and for Protective Order”. A copy
of the Netflix’s filed opposition is attached hereto as
Plaintiff’s Exhibit 3)
     3    The above-referenced Middlesex Superior Court matter
of Nicholas J. Louisa, Esq. v. Netflix Inc. et al is fully open
for public view. (Refer to attached copy of docket in Exhibit 4
and the Order denying impoundment in Exhibit 5).
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       4.   The specific unlawful retribution at issue in this

civil action pertains to the below court order (Exhibit 6)

fraudulently facilitated by Attorney Lisa M. Cukier of Burns

Levinson LLP and Patricia Keane Martin of Seegal Lipshultz & LO

LLP:




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          5.    Said “Order” was issued by then-presiding Judge

    George Phelan of the Norfolk Probate & Family Court on

    September 3, 2020. Conspicuously, Judge Phelan retired the

    very next day on September 4, 2020.         (See copy of

    downloaded official notice of Judge Phelan’s retirement on

    State website provided as Exhibit 7).



          6.    Note the caption of the September 3, 2020 “Order”

    at issue:




    Plaintiff undersigned counsel is not a party—and never was

a party—in the Guardianship and Conservatorship matter of John

C. Savanovich (Case No. 18P1286 & 18P1297).        Even more so,

(Ret.) Judge Phelan precluded Plaintiff undersigned counsel from

representing John Savanovich as legal counsel.




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     7.   As a matter of law, where Plaintiff undersigned

counsel was neither a party nor legal counsel, Norfolk Probate &

Family Court did not have personal jurisdiction over Plaintiff;

thereby, rendering said September 3, 2020 Order invalid.          Judge

Phelan did not have legal authority to issue any order imposing

Plaintiff to pay purported attorney fees given the lack of

personal jurisdiction.    Rhugras Ag v. Marathon Oil, 526 U.S. 574

(1999), cited by Wilson v. Town of Mendon, Nos. 00-1077, 00-

1239, 00-1240 (1st cir. 2002) (“without jurisdiction the court

cannot proceed at all in any cause”).



     8.   As set forth above, Plaintiff files this action

seeking a declaratory judgment that the September 3, 2020

“order” at issue (Exhibit 1) be judicially declared invalid.



     9.   Plaintiff seeks this this Court to issue an order to

Norfolk Probate & Family Court removing the contempt hearing

date of September 21, 2021 scheduled in said matter of John

Savanovich.




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          II.   Parties

    10.   Plaintiff Lisa Siegel Belanger is a Massachusetts

attorney enduring malicious and lawless whistleblower

retaliation for exposing Attorney Lisa M. Cukier’s and her firm

Burns Levinson LLP’s, along with Attorney Patricia Keane

Martin’s and her firm of Seegal Lipshultz & LO LLP’s and

others’, criminality in the exploitation of John Savanovich.

Plaintiff resides in Essex County, Massachusetts.



    11.   Norfolk Probate & Family Court is a defendant in this

action having issued an invalid court order (Exhibit 6) as it

did not have lawful jurisdiction to hear the purported claims

set forth in said September 3, 2020 order.



          III. Jurisdiction & Venue

    12.   Jurisdiction is properly before this Court where the

claim for relief set forth in this civil action arises under

violations of the Constitution, laws or treaties of the United

States within the meaning of 28 U.S.C. 1331(a).



    13.   Pursuant to 28 U.S.C. § 2201, Plaintiff undersigned

counsel requests declaratory relief that the September 3, 2020

Order is null and void.    Underlying federal violation of 42

U.S.C. 1983.

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    14.     Pursuant to 28 U.S.C. § 2202, Plaintiff undersigned

counsel requests injunctive relief via enjoining Norfolk Probate

& Family Court from holding the scheduled hearing of September

21, 2021.   Ex parte Yong, 209 U.S. 123 (1908).



    15.     Pursuant to 28 U.S.C. § 2201, Plaintiff has standing

in pursuit of declaratory relief based on her legal interests

guarantee of Due Process under the Fifth and Fourteenth

Amendments of the U.S. Constitution and Article X of the

Massachusetts Declaration of Rights.



    16.     The Supreme Court makes clear that when there is “bad

faith, harassment” that a federal district court has a duty and

obligation to preempt the state.        Chaulk Services, Inc. v. MACD,

70 F.3d 1361, 1368 (1995).



    17.     Plaintiff has no adequate avenue for remedy of law in

the State court.



    18.     Venue is proper in the District of Massachusetts under

28 U.S.C. § 1391 where a substantial part of acts and omissions

on which this action is based occurred in Massachusetts.



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     IV. Facts

     19.     Plaintiff repeats and re-alleges the factual

allegations set forth above.



     20.     In early February 2019, John Savanovich called

Plaintiff undersigned counsel pleading for legal help, leaving a

voice message describing his being exploited by several

specified attorneys and social workers.4



     21.     Exhibit 7 is the audio message that John Savanovich

left on my voice mail.



     22.     In John Savanovich’s own initiated call to Plaintiff,

his above-referenced voice message, he expressly states he

contacted Plaintiff as a result of having seen articles about

Plaintiff in the Boston Broadside.5




     4  Prior to John Savanovich’s afore-described call to
Plaintiff undersigned counsel, Plaintiff did not know John
Savanovich in any manner.

     5   Boston Broadside is a mass-distributed New England
newspaper having reach in 33 states. www.Bostonbroadside.com



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     23.    Boston Broadside articles published about Plaintiff

undersigned counsel prior to John Savanovich’s call of February

2019:

     April 2017




     Link for article:

     https://www.bostonbroadside.com/showcase/isolate-medicate-

     liquidate-how-to-fleece-a-senior/




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June 2017




Link for article:

https://www.bostonbroadside.com/frontpage/daughters-charge-

criminal-enterprise-within-the-mass-probate-family-court-

system/




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July 2017




Link for article:

https://www.bostonbroadside.com/frontpage/part-4-lawyers-

charged-with-fleecing-elder-marvin-siegel-out-of-millions-

now-seek-to-get-his-daughter-disbarred/




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December 2018




Link for article

https://www.bostonbroadside.com/liberal-legislators/gov-

bakers-appointee-atty-marsha-kazarosian-moves-in-for-the-

kill-to-protect-her-source/




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July 2018




Link for article:

https://www.bostonbroadside.com/horrors-of-

guardianship/horrors-of-guardianship-gov-baker-turns-a-

blind-eye/




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     24. At the specific request of John Savanovich, Plaintiff

filed Notice of Appearance as counsel (See Notice of Appearance

with accompany affidavit as Exhibit 8).



     25. Immediately after Plaintiff’s filing said Notice of

Appearance, Attorneys Lisa M. Cukier and Patricia Keane Martin

filed motions to strike my appearance as counsel for John

Savanovich.   (See attached copy provided as Exhibit 9).

    26.    Prior to the marked-up hearings for Attorney Cukier’s

& Martins’s motion to strike Plaintiff as counsel, Plaintiff

filed a motion to recuse Judge Phelan (See Exhibit 10). Judge

Phelan did not conduct any hearing with regard the motion to

recuse.

     27.   Plaintiff undersigned counsel was not served the

motion underlying said September 3, 2020 order.



     28. Plaintiff undersigned counsel was not given any notice

of hearing for said September 3, 2020 order.




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     29. Corroborating the above-described subterfuge is stated

in Judge Phelan’s September 3, 2020 order:




    30.`In Judge Phelan’s own stated words, Plaintiff was not

allowed to see the motion and affidavits PRIOR to the court

order!!



    31.   Incredulously—but as documented in writing by Judge

Phelan himself, Plaintiff has not been allowed to have a copy of

the purported legal expenses!!



    32.   As shown by Attorney Cukier’s filing in the afore-

referenced matter of Luisa v. Netflix et al, the purported legal

expenses are expenses that she and cohorts charged John

Savanovich for having to expend time and effort in attempting to

cover up their exploitation of HIM. (See copy of Cukier’s filing

provided as Exhibit 11 and following excerpt paragraph 18).




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    33.   Set forth in Exhibit 10 is irrefutable documentation

of the highly prejudicial conflict of interest that existed

between Attorney Cukier and Judge Phelan—particularly

highlighting Attorney Cukier’s service to Judge Phelan’s as his

“master of findings” on other prior cases.



    34.   Attorney Lisa Cukier and the firm of Burns Levinson

LLP have been directly involved with Plaintiff’s father’s

matters in the Essex Probate & Family Court (ES11P1466GD,

ES11P1465PM, ES19P1195EA).




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       35.      Below is the most recent extortion letter6 sent on the

behalf of Attorney Cukier and Martin, by Attorney John O.

Mirick, dated August 24, 2021 specifically referencing the

Estate Administration matter of Plaintiff’s father as Exhibit

12):




       Plaintiff has reported this criminal offense to AG Maura
       6

Healy, Board of Bar Overseers and the Supreme Judicial Court—to
no avail.
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                                 PRAYER

           Plaintiff requests a speedy hearing and advancement of

the cause on this Court’s calendar pursuant to Rules 57 and 65

of the Federal Rules of Civil Procedure due to the grave and

imminent unlawful and financially devastating threats made by

Attorneys Cukier, Martin and Mirick.

    As vigorously reinforced by the Supreme Court: “The

requirement of personal jurisdiction flows from the Due Process

Clause”.   Rhurgas, Supra, citing Insurance Corp of Ireland v.

Compagnie Des Bauxites, 456 U.S. 694, 703, (1982).

    Parallel to Ex parte Young, supra, this matter involves

plaintiff seeking to enjoin State actors from engaging in acts

that are in violation of the Fifth and Fourteenth Amendment of

the United States Constitution.      When a state official engages

in acts that are prohibited by the Federal Constitution such

matters are in fact a matter of federal jurisdiction based on

Supremacy Clause of the United States Constitution.          Id.



       As required under 28 U.S.C. § 1331, Plaintiff has

presented a direct matter of federal question via the Fifth and

Fourteenth Amendment of the United States Constitution.            On the

above-described basis alone, Plaintiffs amply meets standing and

jurisdictional requirements to proceed regarding issuance of a


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declaratory judgment rendering said order invalid, and

warranting this Court to order the Norfolk Probate & Family

Court to remove the September 21, 2021 contempt hearing in the

matter of John Savanovich.

      As demonstrated, the flagrant and blatant fraud perpetrated

in the issuance of the September 3, 2020 order, in and of

itself, constitutes exigent circumstances requiring this Court

to preside over this matter based on extraordinary circumstance

es.   Federal review is necessitated when a plaintiff will suffer

irreparable injury absent equitable relief.         Colonial Life &

Acc. Ins. Co. v. Medley, 572 F.3d 22, 26 (2009).          Plaintiff

requests this Court to      declare said Norfolk Probate & Family

Court orders of September 3, 2020 null and void; that is           no

effect, and is not authorized by law;



                                   Respectfully submitted

                                   By Plaintiff

                                   /s/ Lisa Siegel Belanger

                                   Lisa Siegel Belanger
                                   300 Andover Street, No. 194
                                   Peabody, MA 01960
                                   (978) 998-2342
                                   lisa@belangerlawoffice.com

      Date: September 3, 2021




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